         Case 24-11429-amc
 Fill in this information to identify the case:
                                               Doc       Filed 08/16/24 Entered 08/16/24 14:28:30                     Desc Main
                                                         Document      Page 1 of 3
B 10 (Supplement 2) (12/11)
             Phyllis P. Oliver (post publication draft)
 Debtor 1              __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Eastern                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
                        24-11429-amc
 Case number            ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                  Deutsche Bank National Trust Company, as Indenture
                    Trustee for New Century Home Equity Loan Trust
 Name of creditor: _______________________________________                                                             2-1
                                                                                           Court claim no. (if known): __________________
                   2004-3

 Last 4 digits of any number you use to                  3    5    3    6
 identify the debtor’s account:                          ____ ____ ____ ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
  No
  Yes. Date of the last notice: ____/____/_____

 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                        Dates incurred                                     Amount

  1. Late charges                                                        _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________            (2)   $ __________
  3. Attorney fees                                                       _________________________________            (3)   $ __________
  4. Filing fees and court costs                                         _________________________________            (4)   $ __________
                                                                          07/03/2024                                          950.00
  5. Bankruptcy/Proof of claim fees                                      _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________            (6)   $ __________
  7. Property inspection fees                                            _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________           (10)   $ __________
 11. Other. Specify:____________________________________                 _________________________________           (11)   $ __________
 12. Other. Specify:____________________________________                 _________________________________           (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                             Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
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                 Phyllis P. Oliver                                                                                24-11429-amc
Debtor 1     _______________________________________________________                         Case number (if known) _____________________________________
             First Name         Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   I am the creditor.
   I am the creditor’s authorized agent.

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.


                                                                                                     08    16     2024
             __________________________________________________
               /s/ Angela C. Pattison
                   Signature
                                                                                             Date    ____/_____/________



                   Angela C. Pattison                                                                Creditor's Attorney
 Print:            _________________________________________________________                 Title   ___________________________
                   First Name                      Middle Name        Last Name


                   Hill Wallack LLP
 Company           _________________________________________________________

                   1415 Route 70 East, Suite 309
 Address           _________________________________________________________
                   Number                 Street
                   Cherry Hill, NJ 08034
                   ___________________________________________________
                   City                                               State       ZIP Code


                    856     616    8086                                                              apattison@hillwallack.com
 Contact phone     (______) _____– _________                                                 Email ________________________




Official Form 410S2                                  Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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                             UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                        (Philadelphia)

 IN RE:
                                                       CHAPTER 13
 Phyllis P. Oliver,
                      Debtor.                          CASE NO.: 24-11429-amc

 Carrington Mortgage Services LLC as
 servicer for DEUTSCHE BANK
 NATIONAL TRUST COMPANY, AS
 INDENTURE TRUSTEE FOR NEW
 CENTURY HOME EQUITY LOAN
 TRUST 2004-3

              Creditor/Movant.

 v.

 KENNETH E. WEST
 Respondent.

                         CERTIFICATE OF SERVICE OF PROOF OF CLAIM

        I certify under penalty of perjury that I served or caused to be served the above-captioned
pleading, Post-Petition Fee Notice, on the parties below via First-Class Mail and Electronic Notification
on August 16, 2024.

 Phyllis P. Oliver                                    KENNETH E. WEST
 6222 N 10th St                                       Office of the Chapter 13 Standing Trustee
 Philadelphia, PA 19141-3802                          1234 Market Street - Suite 1813
 Debtor                                               Philadelphia, PA 19107
 VIA REGULAR MAIL                                     Chapter 13 Trustee
                                                      VIA ECF
 MICHAEL A. CIBIK                                     Office of United States Trustee
 Cibik Law, P.C.                                      Robert N.C. Nix Federal Building
 1500 Walnut Street                                   900 Market Street
 Suite 900                                            Suite 320
 Philadelphia, PA 19102Counsel to Debtor              Philadelphia, PA 19107
 VIA ECF                                              U.S. Trustee
                                                      VIA ECF


                                                         Respectfully submitted,

                                                         /s/Angela C. Pattison
                                                         Angela C. Pattison
